                                                                                                      Chet B. Waldman
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        March 10, 2025

        VIA ECF
        Hon. Colleen McMahon
        United States District Court for Southern District of New York
        Daniel Patrick Moynihan United States Courthouse
        500 Pearl St., Courtroom 24A, Chambers Room 2550
        New York, NY 10007-1312

                 Re:      Carnahan v. Baton Corp. Ltd. d/b/a Pump.Fun et al., No. 1:25-cv-00490 (CM)
                          (BCM) (S.D.N.Y.), Aguilar v. Baton Corp. Ltd. d/b/a Pump.Fun et al., No. 1:25-
                          cv-00880 (CM) (BCM) (S.D.N.Y.)

        Dear Judge McMahon:

                We represent Plaintiffs Kendall Carnahan and Diego Aguilar in the above captioned
        matters. Pursuant to Southern District of New York Local Rule 7.1(e) and Your Honor’s Individual
        Practices and Procedures (“Individual Rules”), we respectfully make this Letter Motion to (1)
        Request an Adjournment of the Conferences Scheduled for April 10, 2025 and the Requirement to
        Meet and Confer and Submit Civil Case Management Plans Sine Die in both cases, and (2)
        Set/Reset the Lead Plaintiff Motion Deadline in Carnahan From March 18, 2025 to the Lead
        Plaintiff Motion Deadline in Aguilar of April 2, 2025

        Background

                These two matters are securities class actions. In summary, the complaints allege that
        Defendant Baton Corporation Ltd. (“Baton”) owns, controls, and does business as the website
        Pump.Fun, through which it sold or solicited the sale of unregistered memecoin and/or token
        securities. See, e.g., Carnahan ECF No. 1, ¶ 4; Aguilar ECF No. 1, ¶ 5. Both actions allege
        violations of Sections 5 and 12(a)(1) of the Securities Act of 1933 (“1933 Act”), 15 U.S.C. §§ 77e
        and 77l(a)(1), against Baton for Baton’s alleged sale and solicitation of the sale of unregistered
        securities. Both actions also allege violations of Section 15 of the 1933 Act, 15 U.S.C. § 77o,
        against Defendants Alon Cohen, Dylan Kerler, and Noah Bernhard Hugo Tweedale as control
        persons of Baton. Carnahan ECF No. 1, ¶¶ 104-119; Aguilar ECF No. 1, ¶¶ 136-151.

                The matters differ in that Carnahan alleges claims on behalf of a proposed class of persons
        who purchased a single unregistered security (the $PNUT Token), and Aguilar alleges claims on
        behalf of all persons who purchased any unregistered securities that Pump.Fun sold or for which
        Pump.Fun solicited the sale. Compare Carnahan ECF No. 1, ¶¶ 1, 96 and Aguilar ECF No. 1, ¶¶
        1, 128. The proposed Aguilar class includes the proposed Carnahan class.

                As securities class actions, these matters are governed by the terms of the Private Securities
        Litigation Reform Act (“PSLRA”), 15 U.S.C. § 77z-1 et seq, including the lead plaintiff
        provisions. See 15 U.S.C. § 77z-1(a)(3). The complaint in Carnahan was filed on January 16,
        2025. The PSLRA required notice of pendency of Carnahan was issued on January 17, 2025. 1 The

           1
             https://www.accessnewswire.com/newsroom/en/business-and-professional-services/pnut-investors-notice-wolf-
           popper-llp-and-burwick-law-announce-th-970276.
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        60-day deadline set by the PSLRA to seek appointment as lead plaintiff in Carnahan is March 18,
        2025. See 15 U.S.C. § 77z-1(a)(3)(A)(i). The complaint in Aguilar was filed on January 30, 2025.
        The PSLRA required notice of pendency of Aguilar was issued on February 1, 2025. 2 The 60-day
        deadline set by the PSLRA to seek appointment as lead plaintiff in Aguilar is April 2, 2025. See
        id; Teamsters Local 445 Freight Div. Pension Fund v. Bombardier Inc., No. 05 Civ. 1898 (SAS),
        2005 U.S. Dist. LEXIS 10780, at *8-9 (S.D.N.Y. June 1, 2005) (requiring republication of PSLRA
        notice and new lead plaintiff motions when an amended complaint added new securities to the
        class definition and expanded the class period because “[a]llowing plaintiffs in this case to proceed
        without publishing a new notice reflecting their additional claims would potentially exclude
        qualified movants from the lead plaintiff selection process.”).

        Motion to Request an Adjournment of the Conferences Scheduled for April 10, 2025 and the
        Requirement to Meet and Confer and Submit Civil Case Management Plans Sine Die

                Plaintiffs request that the Court adjourn the conferences scheduled for April 10, 2025 and
        the requirement to meet and confer and submit Civil Case Management Plans sine die in both cases
        for two reasons. First, all Defendants are believed to be residents and/or citizens of foreign
        countries. See Carnahan ECF No. 1, ¶¶ 13-17 and ECF Nos. 7-10; Aguilar ECF No. 1, ¶¶ 14-18
        and ECF Nos. 9-12. Plaintiffs have taken steps to effectuate service of process on the defendants
        in foreign countries pursuant to the Convention on the Service Abroad of Judicial and Extrajudicial
        Documents in Civil or Commercial Matters (the “Hague Service Convention”). However, service
        has not yet been effected. As such, Plaintiff’s Counsel respectfully submits that at this time it is
        not possible to meet and confer with the Defendants concerning Civil Case Management Plans.

                Second, these matters are securities class actions subject to the provisions of the PSLRA,
        including the lead plaintiff provisions discussed above and the stay of discovery during the
        pendency of a motion to dismiss (15 U.S.C. §77z-1(b)(1)). Plaintiffs respectfully submit that due
        to these provisions, the conferences and the requirements to meet and confer and submit Civil Case
        Management Plans should be adjourned. It is unknown at this time whether any Defendants will
        move to dismiss. Further, Plaintiffs respectfully submit that it is the Court-appointed lead plaintiffs
        that should conduct any meet and confer conferences and negotiate Civil Case Management Plans.
        See, e.g., Cook v. Allergan PLC, No. 18-cv-12089-CM (S.D.N.Y. Feb. 7, 2019) (initial conference
        adjourned under similar PSLRA circumstances); Individual Rule IV.M.

               For these reasons, Plaintiffs respectfully request that the Court adjourn the conferences
        scheduled for April 10, 2025 in these matters and the requirement to meet and confer and submit
        Civil Case Management Plans sine die.

        Pursuant to Your Honor’s Individual Rule I.D.2:

            •   The original deadline that the party wishes to adjourn or extend: The conferences scheduled
                for April 10, 2025 and the requirement to meet and confer and submit Civil Case
                Management Plans in both matters.

            •   The number of previous requests for adjournment or extension: None.



           2
             https://www.accessnewswire.com/newsroom/en/business-and-professional-services/pumpfun-token-purchase-
           notice-wolf-popper-llp-and-burwick-law-ann-978081.
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                 •     Whether the adversary consents, and, if not, the reasons given by the adversary for refusing
                       to consent: Service on Defendants pursuant to the Hague Service Convention has not been
                       completed and counsel to Defendants have not appeared.

                 •     Whether the requested adjournment or extension affects any other scheduled dates: The
                       requested adjournment or extension does not affect any other scheduled dates.

           Motion to Set/Reset the Lead Plaintiff Motion Deadline in Carnahan From March 18, 2025 to the
           Lead Plaintiff Motion Deadline in Aguilar of April 2, 2025

                   These matters concern similar allegations. However, the matters are alleged on behalf of
           different proposed classes of security purchasers. The claims in Carnahan are alleged on behalf of
           a proposed class of persons who purchased the $PNUT Token. The claims in Aguilar are alleged
           on behalf of a proposed class of persons who purchased any unregistered memecoin or token
           securities that Pump.Fun sold or for which Pump.Fun solicited the sale, which includes purchasers
           of $PNUT Tokens (the proposed Carnahan class). The matters were filed on different days, the
           PSLRA notices of pendency were issued approximately 2 weeks apart, and as such the matters
           have PSLRA deadlines to seek appointment as lead plaintiff approximately two weeks apart:
           March 18, 2025 for Carnahan and April 2, 2025 for Aguilar.

                  Plaintiffs respectfully submit that the Court should issue an order setting the deadline to
           move for appointment as lead plaintiff in Carnahan as April 2, 2025, the deadline to seek
           appointment as lead plaintiff in the broader proposed Aguilar class. This will allow members of
           the broadest class definition to seek appointment as lead plaintiff in one or both cases, and/or file
           motions to consolidate the matters, at the same time. Judicial economy will also be served by
           having the lead plaintiff and/or consolidation motions heard on the same schedule.

                  If the Court grants this motion, Plaintiffs’ counsel will issue an updated PSLRA notice
           advising the proposed class in Carnahan of the new PSLRA lead plaintiff motion deadline.

                       Pursuant to Your Honor’s Individual Rule I.D.2:

                 •     The original deadline that the party wishes to adjourn or extend: The PSLRA lead plaintiff
                       motion deadline of March 18, 2025 for the Carnahan matter.

                 •     The number of previous requests for adjournment or extension: None.

                 •     Whether the adversary consents, and, if not, the reasons given by the adversary for refusing
                       to consent: Service on Defendants pursuant to the Hague Service Convention has not been
                       completed and counsel to Defendants have not appeared.

                 •     Whether the requested adjournment or extension affects any other scheduled dates: The
                       requested adjournment would impact the schedule for lead plaintiff briefing in Carnahan.
                       If the request is granted, and pursuant to Your Honor’s Individual Rule IV.M, oppositions
                       to lead plaintiff motions in both Carnahan and Aguilar will be due 14 days after April 2,
                       2025, or April 16, 2025.




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                 Thank you for your attention to these matters.

                                                                             Respectfully,

                                                                             /s/ Chet B. Waldman

                                                                             Chet B. Waldman




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